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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION
                                                        )       Chapter 11 Case
In re:                                                  )
                                                        )       Case No. 19-32857(HDH)
         HVI CAT CANYON, INC.,                          )
                                                        )
                                 Debtor.                )
                                                        )
                                       NOTICE OF HEARING

          PLEASE TAKE NOTICE that a status conference has been scheduled for hearing on

Thursday, September 5, 2019 at 2:00 p.m. (CST), before the Honorable Harlin D. Hale,

United States Bankruptcy Judge, at the United States Bankruptcy Court for the Northern District of

Texas, Earle Cabell Federal Building, 1100 Commerce Street, 14th Floor, Courtroom 3, Dallas,

Texas, 75242.

          Judge Hale has approved telephonic appearances for all parties. Parties must pre-register with

CourtCall at 866-582-6878 to obtain their dial-in information. Parties are welcome to appear in person

before Judge Hale if they prefer.

Dated:     New York, New York
           August 29, 2019
                                                        WELTMAN & MOSKOWITZ, LLP
                                                        Proposed Attorneys for Debtor/Debtor in
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                                                        By: /s/ Michael L. Moskowitz
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